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MDL
EXHIBIT 3

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Donald E. Haviland, Jr., Esquire

. : Nov 9 2007
Michael J. Lorruso, Esquire 2:29PM

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COUNSEL FOR PLAINTIFF INTERNATIONAL UNION OF OPERATING ENGINEERS,

LOCAL 68, WELFARE FUND AND THE CLASS

International Union of Operating Engineers, Superior Court of New Jersey
Local No. 68 Welfare Fund, Law Division: Monmouth County

(an unincorporated trust)
Civil Action Docket No. MON-L-3136-06

Plaintiff,
ORDER DISMISSING WITHOUT
Vv. ’ PREJUDICE DEFENDANTS
OVERLAPPING MDL 1456
AstraZeneca PLC, et al.,
Defendants. —

THIS MATTER having been opened to the court by The Haviland Law Firm and
Keefe Bartels, Counsel for Plaintiff and the Class, on Plaintiff's Motion to Dismiss Without
Prejudice Conflicting Class Claims as to Defendants Overlapping MDL 1456, and the parties
having amicably resolved their differences and consenting to the entering of this form of Order,

Onthis_§ day of Ober 2007

ORDERED that plaintiff's claims against the following defendants are dismissed
without prejudice:

Abbott Laboratories, Amgen Inc., Zeneca, Inc., Astra Zeneca

Pharmaceuticals L.P., Aventis Pharmaceuticals, Inc., Hoechst Marion
Roussel, Inc., ZLB Behring, L.L.C. (f/k/a Aventis Behring L.L.C.),

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Centeon, L.L.C., Armour Pharmaceuticals, Baxter International Inc.,
Baxter Healthcare Corporation, Immuno-U.S., Inc., Bayer Corporation,
Bayer AG, Miles Laboratories, Inc, Cutter Laboratories, Inc., Bristol-
Myers Squibb Co., Oncology Therapeutics Network Corp., Apothecon,
Inc., Dey, Inc., Fujisawa Healthcare, Inc., Fujisawa USA, Inc., Immunex
Corporation, Johnson & J ohnson, Centocor, Inc., Ortho Biotech,
Pharmacia Corporation, Pharmacia & Upjohn LLC, fik/a Pharmacia &
Upjohn, Inc., Monsanto Company, Schering-Plough Corporation, Warrick
Pharmaceuticals Corporation, Sicor, Inc., Gensia Sicor Pharmaceuticals,
Inc., and Watson Pharmaceuticals, Inc.;

IT IS FURTHER ORDERED that subject to and specifically reserving all defenses,
the parties agree that (1) none of the Defendants waives or releases any defenses or arguments,
including but not limited to, any statute of limitations and/or repose defenses, which could have
been asserted prior to the effective date of this Order and (2) any and all applicable statutes of
limitations and/or repose are, from the effective date of this Order and for the pendency of MDL
1456, tolled and the reinstatement of any Defendant to this action will not, as a result of this
Order, trigger a right of removal to federal court;

IT IS FURTHER ORDERED that plaintiff's Motion to Dismiss Without Prejudice
Conflicting Class Claims as to Defendants Overlapping MDL 1456 is withdrawn;

IT IS FURTHER ORDERED that a copy of this Order shall be served upon all

counsel and the Special Master within seven days of receipt from the Co

Honorable Louis F. Locascio, J.S.C.

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